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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


PAUL BETANCES, LLOYD A. BARNES,
GABRIEL VELEZ a/k/a GABRIEL BELIZE,
individually and on behalf of all others similarly
situated,
                      Plaintiffs                         No. 11 Civ. 3200 (RWL)
       -against-

BRIAN FISCHER, et al.,

                       Defendants.




      PLAINTIFFS’ SUPPLEMENTAL PRE-TRIAL MEMORANDUM OF LAW




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                In its June 10, 2021 Order, the Court requested additional briefing on the issue of

“the propriety of determining loss of liberty damages on a class-wide basis.” Order, Dkt. 321.

Specifically, the Court asked the parties to directly address three issues: (1) the extent to which

the Court can proceed to trial on a class-wide basis with respect to determining damages for loss

of liberty, and whether any precedent for or against such a class trial exists; (2) what evidence,

witnesses, and/or argument would be presented at such a trial; and (3) what subclasses would be

appropriate for such a trial.

                As explained below, the Court can proceed to trial on the issue of common class-

wide damages for lost liberty. Damages like those at issue here were identified by the Second

Circuit in Kerman and tried on a class-wide basis by an Eastern District of New York court

following Kerman in In re Nassau County Strip Search Cases. See Section I(A), (B), infra.

Likewise, over three decades earlier, the D.C. Circuit upheld a jury’s class-wide damages award

for the plaintiffs’ false imprisonment in Dellums. See Section I(C), infra. Section II, below,

describes how Plaintiffs intend to present evidence at the class-wide trial through the use of

stipulations, limited testimony from class members, and documentary evidence describing the

conditions of Plaintiffs’ Post Release Supervision (PRS) and imprisonment. Finally, the plaintiff

class should not be divided into subclasses because the damages to be determined by the jury—

for the uniform loss of liberty associated with unlawful imprisonment and being subjected to the

uniform terms and conditions of PRS—do not differ materially from one class member to

another. See Section III, infra.
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                                           ARGUMENT

I.     PRECEDENT FROM THE SECOND CIRCUIT AND BEYOND SUPPORTS A
       CLASS TRIAL ON LOSS OF LIBERTY DAMAGES

       A.      Kerman Establishes Plaintiffs’ Entitlement to General Lost Liberty Damages
               that Do not Require Individualized Proof

               In Kerman v. City of New York, the Second Circuit held that “where the plaintiff

was indisputably deprived of his liberty, and the conduct of the defendant responsible for the

deprivation was found to be unlawful, . . . the plaintiff is entitled to compensatory, not merely

nominal, damages.” 374 F.3d 93, 124 (2d Cir. 2004). Such compensatory damages “fall into

two categories: general damages and special damages.” Id. at 125. “General damages”

compensate for a “harm of a sort inseparable from [the unlawful] restraint.” Id (alteration in

original) (cleaned up). That is, “the loss of freedom[] inherent in any unlawful detention [] is

compensable as ‘general damages’ for unlawful imprisonment without the need for pleading or

proof.” Id. at 130. “Special damages,” by contrast, focus on individualized harms such as

“physical discomfort, shock, or injury to health, loss of employment, and injury to the plaintiff's

reputation or credit, and must be specifically pleaded and proven.” Id. at 125 (cleaned up).

Thus, “[general] damages recoverable for loss of liberty for the period spent in a wrongful

confinement are separable from [special] damages recoverable for such injuries as physical

harm, embarrassment, or emotional suffering.” Id.

               The Second Circuit makes clear throughout Kerman that the touchstone of general

damages for lost liberty is the “loss of time” inherent in any wrongful confinement—independent

of any individualized physical, mental, emotional, or economic damages. Kerman begins its

analysis with a discussion of Raysor v. Port Authority of New York and New Jersey, 768 F.2d 34

(2d Cir. 1985), which held that a $16 compensatory damages award for a person detained for

several hours was “inadequate to compensate the plaintiff for, inter alia, ‘the loss of time . . .


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involved in the false arrest.’” Kerman, 374 F.3d at 125 (alteration in original) (emphasis added)

(quoting Raysor, 769 F.2d at 39). Kerman then quotes directly from Raysor for the proposition

that “‘New York cases uphold awards of up to $10,000 for eve[n] short periods of confinement

without proof of actual damages.’” Id. (alteration in original) (emphasis added) (quoting Raysor,

769 F.2d at 39).

                  Kerman reiterates this core principle—that the loss of time as a free person caused

by an unconstitutional deprivation of liberty is itself a compensable injury, separate and apart

from any individualized damages—time and again throughout the remainder of the opinion:

         •   “[E]ven absent [] other damages,” such as “physical harm, embarrassment, or
             emotional suffering, . . . an award of several thousand dollars may be appropriate
             simply for several hours’ loss of liberty.” Id. at 125-26 (emphasis added) (collecting
             New York cases awarding $7,500 and $10,000, respectively, for three and five hours
             of unlawful detention).

         •   “[T]he availability of compensatory damages for time lost as a result of an unlawful
             detention was recognized at common law.” Id. at 130 (emphasis added).

         •   “We would agree that in [certain] negligence cases, the ‘loss of time’ concept focuses
             squarely on economic losses. In the false imprisonment context, however, the ‘loss of
             time’ concept is not so narrow. A loss of time, in the sense of loss of freedom, is
             inherent in any unlawful detention and is compensable as ‘general damages’ for
             unlawful imprisonment. The loss of time, an injury distinct from mental suffering or
             humiliation, may, but need not, have economic consequences; if recovery for an
             economic loss is sought, the common law treats that loss as an item of special damage
             that must be pleaded and proven.” Id. (citation omitted) (emphasis added).

         •   “The traditional availability of damages for loss of time as a result of false
             imprisonment has been recognized by New York courts.” Id. at 131 (emphasis
             added).

         •   “[W]e read [New York State cases] as supporting the appropriateness of several-
             thousand-dollar awards for simply the loss of even a few hours’ time spent in
             unlawful detention.” Id. (emphasis added).1


         1
           At the June 10, 2021 pre-trial conference, the Court asked Plaintiffs’ counsel whether language from
Kerman, cited in Plaintiffs’ motion in limine briefing, that “general loss of liberty damages need not be specifically
proved, but may be inferred from the circumstances of the arrest or imprisonment,” means that “you have to look at
the specific circumstances of the arrest or imprisonment.” June 10, 2021 Tr., Dkt. 324, at 48-49 (cleaned up). It


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                  In lockstep with Kerman, a trial regarding the appropriate amount of

compensatory damages for the loss of time caused by the deprivation of liberty from unlawful

confinement and for the unlawful restrictions on liberty caused by Defendants’ unconstitutional

administrative imposition of PRS is exactly the trial envisioned by Judge Scheindlin in her

opinion certifying the class and this Court’s opinion denying Defendants’ motions for summary

judgment and to decertify the class. See Betances v. Fischer, 403 F. Supp. 3d 212, 238

(S.D.N.Y. 2019) (“Betances IV”) (Defendants’ argument that “each Plaintiff’s case is too

individualized for class-wide determination of damages . . . fails to account for the fact that a

class-wide daily damages value may be assessed for each day of incarceration or other restraint

on liberty.”); Betances Class Opinion, 304 F.R.D. at 431-32 (S.D.N.Y. 2015) (“General damages

for the loss of liberty . . . do not turn on any individual characteristics of any class member. . . .

The jury can determine the damages appropriate for each deprivation, based on the type of

deprivation. For example, the jury could determine a particular amount of damages for each day

of incarceration. This amount could then be multiplied by the number of days each class

member was incarcerated.”).


does not. In context, the phrase “circumstances of the arrest or imprisonment” means the fact that a person is
arrested or imprisoned—not the “specific circumstances” in which a person is detained. First, the beginning of this
sentence states that general damages “need not be specifically proved.” Kerman, 374 F.3d at 125 (cleaned up). If
the “specific circumstances of the arrest or imprisonment” were a part of general lost liberty damages, they would
need to be “specifically proved.” Second, the end of this sentence, which Plaintiffs did not cite in their motion in
limine briefing, states that the “general damages” that can be “inferred from the circumstances of the arrest or
imprisonment [] would include at least the value of the time lost by the Plaintiff during the period of detention.” Id.
(emphasis added) (citation and quotation marks omitted).

          The value of lost time for general lost liberty damages, as Kerman makes clear throughout, is the same
regardless of the “specific circumstances” where a person is confined—the “loss of freedom[] is inherent in any
unlawful detention.” Id. at 130 (emphasis added). Indeed, whatever variations there are in liberty restraints
between, e.g., the specific circumstances of detention in a local jail versus an upstate prison, are de minimis in
comparison to the deprivation of liberty common to each person who is detained and denied freedom of movement
in violation of their constitutional rights. This is why Judge Scheindlin, in her opinion certifying the class, cited the
sentence raised by the Court at the pre-trial conference on June 10, 2021 in support of her conclusion that general
lost liberty damages can be proven on a class-wide basis. See Betances v. Fischer, 304 F.R.D. 416, 431 (S.D.N.Y.
2015) (“Betances Class Opinion”).



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                  Kerman’s procedural history lends further support to a class-wide damages trial

for lost liberty damages. The jury (at the second trial in the case) found that Kerman was entitled

to only nominal damages on his unlawful seizure and false imprisonment claims. Kerman, 374

F.3d at 106. The trial court affirmed the jury’s verdict on a post-trial motion. Id. at 122. The

Second Circuit reversed, holding that because Kerman’s detention “indisputably lasted at least

10 hours without any evidence of [his] consent, the trial court should have informed the jury that

if it found [the defendant officer] acted without probable cause it should award Kerman

compensation for the loss of his liberty.” Id. at 129. This was so even though the Second Circuit

found no “valid reason” to revisit the jury’s finding that Kerman failed to prove any

individualized damages. Id. at 123 (“The injuries to which [Kerman] testified were relatively

minor physical injuries . . . and emotional or psychological injuries . . . [and] we see no valid

reason why the jury could not have rejected these claims of injury.”). Id. Reiterating that “a loss

of liberty is inherent in an unlawful confinement,” the Second Circuit held that “the failure to

give that instruction deprived the jury of the legal guidance needed for a rational decision and

thus constituted fundamental error.” Id. at 129. Accordingly, it ordered a new trial on damages

“limit[ed] . . . to the amount of compensatory damages that Kerman should receive for his loss of

liberty,” id. at 1322—the same inquiry at the class-wide damages trial that this Court and Judge

Schiendlin have already ordered in this case.

                  Kerman is controlling and, by itself, provides the foundation for a class-wide

damages trial on lost liberty damages—which are common to all class members because they are




         2
         This trial was never ultimately held because the case settled before trial. See Dkt. 127, Kerman v. City of
New York, No. 96 Civ. 7865 (S.D.N.Y. 1996).



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rooted in the loss of time occasioned by each deprivation of liberty they endured under

unconstitutionally imposed PRS.

        B.     The General Damages at Issue Here and in Kerman Have Previously Been
               Determined at Trial on a Class-Wide Basis

               In re Nassau County Strip Search Cases serves as a particularly instructive

example of a case where a plaintiff class was certified on the issue of general damages pursuant

to Kerman and then proceeded to a class-wide trial on the sole issue of general damages. A class

trial on general damages is not only “doable,” as Judge Hurley proclaimed in Nassau County, see

In re Nassau Cnty. Strip Search Cases, No. 99 Civ. 3218, 2008 WL 850268, at *6 (E.D.N.Y.

Mar. 27, 2008) (“Nassau Cnty. Class Op.”), it has in fact been done by a court in the Second

Circuit and can be repeated in this analogous case.

               1.      The Nassau County General Damages Class

               In Nassau County, the plaintiffs alleged that they were “arrested on misdemeanor

charges unrelated to weapons or drugs and thereafter strip searched, without individualized

suspicion” pursuant to a County policy. In re Nassau Cnty. Strip Search Cases, 461 F.3d 219,

222 (2d Cir. 2006). After the district court initially denied plaintiffs’ motions for class

certification, the Second Circuit reversed and directed the lower court to “certify a class on the

issue of liability” and “consider anew whether to certify a class as to damages as well.” Id. at

231.

               The district court subsequently certified a class as to both liability and the issue of

“the general damages sustained by each class member attributable to the affront to human dignity

necessarily entailed in being illegally strip searched.” In re Nassau Cnty. Strip Search Cases,

742 F. Supp. 2d 304, 307 (E.D.N.Y. 2010) (“Nassau Cnty. Rule 52 Op.”); Nassau Cnty. Class

Op., 2008 WL 850268, at *1. In certifying the general damages class, the Nassau County court



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was guided by the Second Circuit’s decision in Kerman. See Nassau Cnty. Class Op., 2008 WL

850268, at *4-*5. The court pointed to the “compensatory, not merely nominal, damages” for

lost liberty inherent to the false imprisonment in Kerman, applied the same rule to the strip

searches in Nassau County, and agreed with the plaintiffs’ position that once an unlawful strip

search “is shown to have taken place, a fortiori there is injury to human dignity” for which “[a]t

the very least, class members are entitled to general damages.” Id. at *4, *6 (cleaned up).

                  The Nassau County defendants, much like Defendants here, argued against

certification of a general damages class on the basis that awarding general damages in a class

action was purportedly “unprecedented.” Id. at *3. The court was not “persuaded by

Defendants’ argument that even if general damages are awardable in a strip search case there is

no reason to believe that the rule would be extended to class actions.” Id. at *6. Instead, the

court concluded: “There is no reason that a jury in this case, hearing the procedures used by

Defendants for strip searches together with the testimony of a number of class members at to the

circumstances of actual searches, could not determine an amount of general damages awardable

to each member of the class.” Id.3

                  2.        The Nassau County Damages Trial

                  In Nassau County, the court instructed that “care would have to be taken to ensure

that the amount awarded for general damages excludes all elements of special damages that

individual class member[s] might then pursue.” Id. The court then prepared for a trial on the

class’s general damages, to take place in late 2009. See Nassau Cnty. Rule 52 Op., 742 F. Supp.




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            Likewise, Judge Scheindlin, in granting Plaintiffs’ motion for class certification in this case, instructed
that a jury may calculate general damages for Plaintiffs’ lost liberty “on a class-wide basis,” Betances Class
Opinion, 304 F.R.D. at 431 (citing Nassau Cnty. Class Op., 2008 WL 850268, at *6), by, for example,
“determin[ing] a particular amount of damages for each day of incarceration,” which would “then be multiplied by
the number of days each class member was incarcerated,” id. at 432.


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2d at 307. Shortly before the start of trial, the parties waived the right to a jury trial and agreed

to conduct a bench trial before Judge Hurley. Id. The trial lasted eleven days. Id.

                  At the Nassau County class damages trial, the parties presented various forms of

testimonial and documentary evidence, including the testimony of multiple plaintiff class

members, who described the nature of the strip searches, and of correctional officers, who

detailed the procedures they followed when they conducted the strip searches. Id. at 308. After

the trial concluded, the court issued its Rule 52 Order and determined that each member of the

class had indeed “suffered the same injury to human dignity” inherent to the unlawful strip

searches they experienced, and, “[a]ccordingly, all [class] members [were] entitled to the same

dollar amount” per strip search “by way of a general damages award.” Id. at 321. The court was

again careful to distinguish the award of general damages from the class members’ “individual

claims for associated special damages which will be addressed later in the proceedings,” id., and

ultimately awarded the class members $500 in general damages per strip search—a figure the

court reached after surveying damages awards in prior strip search cases, see id. at 326-31.4

         C.       Dellums v. Powell Provides Additional Support for a Class-Wide
                  Determination of General Damages for Lost Liberty

                  Three decades before Nassau County, the D.C. Circuit found in Dellums that

recompense in money damages for the violation of “intangible interests protected by the




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            Courts beyond the Second Circuit have also cited Nassau County when certifying classes on the issue of
general damages for lost dignity and related harms. See Lee v. City of Columbus, No. 07 Civ. 1230, 2009 WL
2876263, at *6 (S.D. Ohio Sept. 4, 2009) (finding Nassau County “well-reasoned and instructive” and allowing
plaintiffs to present class members’ testimony regarding their general damages resulting from defendants’ unlawful
disclosure of plaintiffs’ personal medical information); Lowery v. City of Albuquerque, 273 F.R.D. 668, 687
(D.N.M. 2011) (granting plaintiffs’ motion for class certification on liability and general damages where plaintiffs
were all, among other things, unlawfully evicted from their homes by defendants); Aichele v. City of Los Angeles,
314 F.R.D. 478, 496 (C.D. Cal. 2013) (granting motion to certify general damages class in Section 1983 action
challenging municipal defendants’ unlawful refusal to release plaintiffs on their own recognizance following arrests
at a protest).



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Constitution” is “routinely left to a jury under proper instructions.” Dellums v. Powell, 566 F.2d

167, 195 (D.C. Cir. 1977). Plaintiffs—a group of some 2,000 anti-war protestors—brought

claims against the chief of the United States Capitol Police for First Amendment violations,

unlawful arrest and imprisonment, Eighth Amendment cruel and unusual punishment violations,

and malicious prosecution. After a series of pretrial motions, the trial court certified the lawsuit

as a class action, defining the class as, “all persons who were arrested while assembled on the

Capitol steps on May 5, 1971.” Id. at 282 (cleaned up). The court allowed generalized class-

wide damages to be determined at trial on all claims except for those under the Eighth

Amendment.

               1.      False Imprisonment and False Arrest Damages

       Despite the inherent differences in the surrounding circumstances of each individual

plaintiff’s unlawful arrest and imprisonment, the D.C. Circuit upheld the jury’s class-wide

damages award for those claims. The court found that, “the jury was able to award damages

along a sliding scale which took into account, in a rough way, the different experiences of

different members of the class, without losing administrative feasibility.” Id. at 208. At trial, the

jury awarded class-wide damages for false arrest and false imprisonment on the following sliding

scale: “for 12 hours or less in detention, $120; for 12 to 24 hours in detention, $360; for 24 to 48

hours of detention, $960; and for 48 to 72 hours of detention, $1,800.” Id.

               2.      First Amendment Damages

       The trial in Dellums is also a cautionary tale concerning the need to be precise when

tasking a jury with determining a class-wide damages amount for a specific type of common

injury in a class action. The jury in Dellums awarded each class member $7,500 for violations of

their First Amendment right to protest. Id. at 194. While the D.C. Circuit held that a jury could

appropriately award generalized damages on a class-wide basis for violations of “intangible”


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constitutional interests, it ultimately vacated the trial court’s judgment and remanded this facet of

the case for a redetermination of First Amendment damages. “We think it is in principle no less

administrable than damage awards for other intangible interests protected by the Constitution or

at common law.” Id. at 195. Specifically, the court found that the jury’s award was “out of

proportion” to the harm suffered because “[the jury] instructions did not require the jury to focus

on the loss actually sustained by the plaintiffs.” Id. at 196.

               In Judge Leventhal’s concurrence, he wrote:

               Ultimately the first amendment rights of free speech and free
               assembly are priceless. But a price must be put on them in the
               context of civil litigation. That verdict must be as reasonable and
               guided as any other. An award for violation of a first amendment
               right must be commensurate with the value to the plaintiff of the
               right that has been lost.

Id. at 209. Judge Leventhal also noted that the district court's jury instructions “set no limits on

the jury's discretion” which may have led the jury to assume “that its authority included the

possibility of punitive damages.” Id. In cases involving a large class, “the district court should

have taken explicit steps to avert a punitive element in the damage award.” Id. On remand, per

the court’s recommendation, the trial judge set the damages amount for First Amendment

violations at $750 for each class member. Dellums v. Powell, 660 F.2d 802, 804 n.2 (D.C. Cir.

1981).

II.      PLAINTIFFS’ ANTICIPATED PRESENTATION OF EVIDENCE AT THE
         CLASS DAMAGES TRIAL

               As the Court noted in its decision resolving the parties’ Daubert motions, at trial,

the jury “need[s] to hear about what PRS is and what type of restrictions PRS imposed” on

Plaintiffs. Daubert Order, Dkt. 296, at 8. Accordingly, in order to illustrate to the jury how PRS

and reincarceration for violating PRS restricted Plaintiffs’ liberty, the trial in this case should

include the following presentation of evidence and argument:


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                Stipulated facts: In their Joint Pretrial Order, Plaintiffs submitted a list of 51

proposed stipulated facts related to the restrictions Plaintiffs experienced while they were on

PRS and while incarcerated. See Joint Pretrial Order (“JPTO”), Dkt. 310, at 7-12. For example,

the proposed stipulated PRS facts describe how Plaintiffs were forbidden from traveling outside

of New York or moving to a new home without obtaining permission from their Parole Officer.

Id. at 8-9. The proposed stipulated imprisonment facts provide illustrative examples of the

myriad ways incarceration deprived Plaintiffs of their liberty. See id. at 10-12. These stipulated

facts will provide the jury with the information necessary to ascertain the amount of general

damages for lost liberty due to Plaintiffs.

                The 51 proposed stipulated facts cannot be reasonably disputed by Defendants

and should therefore not be subject to proof at trial. In the JPTO, Defendants do not dispute the

veracity of the 51 stipulated facts. Instead, they “contend that the facts as to PRS or

imprisonment must be adduced at trial” in order to establish whether Defendants caused the

conditions described therein. JPTO at 8 n.4. The Court, in granting summary judgment to

Plaintiffs, already held as a matter of law that Defendants are liable for causing Plaintiffs’ lost

liberty. The issue of causation should not be revisited at trial and Defendants should stipulate to

the 51 facts in order to avoid burdening the Court and the jury with unnecessary testimony on

facts not in dispute.

                Testimony: If Defendants refuse to stipulate to the 51 facts listed in the JPTO, or

to the extent that the stipulated facts insufficiently describe the restrictions imposed on Plaintiffs

by imprisonment and PRS, the jury should hear limited testimony from members of the Plaintiff

class. As in Nassau County, where the court heard testimony from class members who described

the nature of the unlawful strip searches, see Nassau Cnty. Class Op., 2008 WL 850268 at *6




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(With the benefit of limited testimony from members of the Plaintiff class, “[t]here is no reason

that a jury in this case . . . could not determine an amount of general damages awardable to each

member of the class.”), here, the class member witnesses should be called to describe solely the

nature of the liberty limitations caused by the imposition of unlawful incarceration and unlawful

PRS. For example, members of the class can testify that while imprisoned their freedom of

choice and movement were essentially non-existent in ways that are common to all persons who

are imprisoned. Similarly, a members of the class can testify that while on PRS their freedom

was restricted insofar as they were subject to, e.g., travel restrictions, reporting requirements, and

curfews. This testimony will assist the jury in understanding the nature of the common injuries

to liberty suffered by each and every class member, thus allowing it to determine the ultimate

and only factual dispute that must be resolved at trial: the non-nominal quantum of damages for

lost liberty for each day of unlawful imprisonment and for each day of unlawful PRS.

               Exhibits: Documentary evidence detailing the restrictions imposed on Plaintiffs

during PRS or incarceration, including DOCCS’s written regulations and policies in effect

during Plaintiffs’ PRS or incarceration, may also be used to describe the nature of the liberty

Plaintiffs lost as a result of unlawful PRS and incarceration.

               Argument: As explained in Plaintiff’s memorandum of law in support of

Plaintiffs’ combined motions in limine, Defendants’ arguments on liability, causation, class

certification, and nominal damages have been rejected by the Court and those rulings are the law

of the case. See generally, Pls’ In Limine Br., Dkt. 306 at 2-11. These issues of law have been

decided and should not be revisited at trial. In particular, to the extent that Defendants continue

to contend that they are not liable for the deprivation of liberty Plaintiffs experienced while

unlawfully placed on PRS and/or imprisoned for violating that PRS, this argument has been




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rejected repeatedly and should not be made before the jury. See Pls’ In Limine Br. at 4-6 (“At

the upcoming class damages trial, the jury will not be asked to decide whether Defendants are

liable for Plaintiffs’ lost liberty or whether Defendants’ actions were the proximate cause of

Plaintiffs’ lost liberty. . . . Defendants should be precluded from arguing issues concerning

liability or causation or introducing evidence on those issues.”).

               The only issue that should be presented to the jury for determination at the class

damages trial is the “amount of money appropriate to compensate for each day of liberty lost by

Plaintiffs due to being imprisoned for violating PRS and for each day subjected to the restrictions

of PRS.” JPTO at 12.

III.    SUBCLASSES ARE NOT WARRANTED

               Given the nature of the class-wide general damages trial for lost liberty proposed

by Plaintiffs as set forth above and previously endorsed by Judge Scheindlin and this Court,

dividing the class into formal Rule 23 subclasses would serve no purpose. Rule 23 subclasses

are appropriate when groups of class members have distinct legal claims or materially unique

factual circumstances that thus warrant differential treatment in the litigation or create potential

friction between subgroups. Each subclass must separately meet the requirements of Rule 23

and thus must have a specifically designated named plaintiff class representative.

               In this case, there is no divergence of claims or interests amongst class members

on the common issue of liability that has already been determined in favor of the class. Nor is

there any divergence of interests or claims concerning the common damages issues that Plaintiffs

seek to have tried before a jury.

               Dividing the previously certified class in this action into subclasses would serve

no purpose and would only create further delay. That said, after class-wide damages concerning

lost liberty are resolved at trial on behalf of each and every member of the class, there may then


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be a basis for considering whether groups within the class could be identified, based on objective

criteria, that suffered specific types of injuries other than the loss of liberty, which in turn might

lend itself to an additional common damage recovery for such a subgroup. In that circumstance,

certification of a subclass would make sense in order to resolve additional common issues that

are unique to a subset of the class. At this stage, however, the damages for injuries suffered by

every class member should be determined first.

               After that trial, the parties can address whether there might be a need for such

subclasses or other methods to resolve issues that are not common to all class members and can

address techniques to resolve damages issues that are highly individualized, for example through

the appointment of a special master or other class action management devices. Absent such a

post-trial plan, however, Plaintiffs anticipate that loss of liberty damages, as determined by the

jury, will be distributed to class members who will then be free to commence follow-up

individual actions seeking to recover compensatory damages from defendants for their non-

liberty based individual injuries.

                                          CONCLUSION

               A class-wide trial on the general damages described in Kerman has occurred

before and is appropriate here. At the trial, Plaintiffs intend to present their case to the jury

through the use of stipulated facts, limited testimony from members of the plaintiff class, and

documentary evidence describing how incarceration and PRS restricted Plaintiffs’ liberty.

Finally, subclasses are not warranted.




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       New York, New York

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